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16
                             UNITED STATES BANKRUPTCY COURT
17                        FOR THE EASTERN DISTRICT OF WASHINGTON
                                        AT SPOKANE
18
       In re                                            Case No. 04-08822-PCW-11
19
       THE CATHOLIC BISHOP OF                           DEBTOR’S SECOND AMENDED
20     SPOKANE a/k/a THE CATHOLIC                       PLAN OF REORGANIZATION
       DIOCESE OF SPOKANE,                              JOINTLY PROPOSED BY
21                                                      EXECUTIVE COMMITTEE OF THE
                            Debtor.                     ASSOCIATION OF PARISHES,
22                                                      DEBTOR, FUTURE CLAIMS
                                                        REPRESENTATIVE AND TORT
23                                                      CLAIMANTS’ COMMITTEE

24                                                      Dated: March 7, 2007

25
26
       DEBTOR’S SECOND AMENDED PLAN OF REORGANIZATION
       JOINTLY PROPOSED BY AOP, DEBTOR, FCR AND TCC -1
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 1
                                             ARTICLE 1
 2                                         INTRODUCTION

 3             1.1      The Executive Committee of the Association of Parishes, the Debtor,

 4     the Future Claims Representative and the Tort Claimants’ Committee propose the

 5     following Plan of Reorganization.

 6             1.2      ALL CREDITORS ARE ENCOURAGED TO CONSULT THE

 7     DISCLOSURE STATEMENT BEFORE VOTING TO ACCEPT OR REJECT THE

 8     PLAN. AMONG OTHER INFORMATION, THE DISCLOSURE STATEMENT

 9     CONTAINS DISCUSSIONS OF THE DEBTOR, THE HISTORICAL

10     BACKGROUND OF THE REORGANIZATION CASE AND THE PREPETITION

11     PERIOD, AND A SUMMARY AND ANALYSIS OF THE PLAN. NO

12     SOLICITATION MATERIALS, OTHER THAN THE DISCLOSURE STATEMENT

13     AND RELATED MATERIALS TRANSMITTED THEREWITH, HAVE BEEN

14     AUTHORIZED BY THE BANKRUPTCY COURT FOR USE IN SOLICITING

15     ACCEPTANCES OR REJECTIONS OF THE PLAN.

16             1.3      The Court has scheduled the Confirmation Hearing for approval of

17     the Plan on ______________, 2007.

18                                            ARTICLE 2
                                             DEFINITIONS
19
               2.1      Definitions. Capitalized terms in this Plan which are not defined in
20
       this Article 2 are defined in §§101 and 1101 of the Bankruptcy Code and
21
       Bankruptcy Rule 9001.
22
               2.2      Abuse means inappropriate contacts or interactions of a sexual
23
       nature between a child and an adult, or a nonconsenting adult and another adult,
24
       when the child or nonconsenting adult is being used by the adult as an object of
25
       sexual gratification for the adult. A child or nonconsenting adult is abused whether
26
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 1   or not this activity involves explicit force, whether or not it involves genital or

 2   physical contact, and whether or not there is physical harm to the child or

 3   nonconsenting adult. This definition shall not constitute a waiver of any statute of

 4   limitations or other defense that would otherwise be available to the Debtor or the

 5   Reorganized Debtor under applicable law and the provisions of this Plan with

 6   respect to Claims for Abuse that occurred after the Petition Date.

 7           2.3      Abused means being subjected to Abuse.

 8           2.4      Administrative Expense Claim means a Claim entitled to priority

 9   under §507(a)(1) of the Bankruptcy Code, including (a) Claims incurred by Debtor

10   since the Petition Date of a type described in §503(b) of the Bankruptcy Code, (b)

11   all Claims of a Professional Person and (c) all fees and charges assessed against

12   the Estate under 28 U.S.C. §1930.

13           2.5      Allowed Claim means (i) any Claim which has been listed by Debtor

14   in its Schedules, as such Schedules may be amended from time to time in

15   accordance with Bankruptcy Rule 1009, as liquidated in amount and not disputed

16   or contingent and for which no contrary proof of claim has been filed, (ii) any Claim

17   allowed under Article 11 of this Plan, (iii) any Claim which is not a Disputed Claim,

18   (iv) any Ordinary Course Administrative Expense Claim which is not a Disputed

19   Claim, (v) any Claim that is compromised, settled, or otherwise resolved pursuant

20   to the authority granted to the Debtor or the Reorganized Debtor pursuant to a

21   Final Order of the Bankruptcy Court, (vi) any Claim which, if a Disputed Claim, has

22   been allowed by a Final Order, or (vii) any other Claim which has been allowed by

23   a Final Order; provided, however, that any Claim allowed solely for the purpose of

24   voting to accept or reject the Plan pursuant to an order of the Bankruptcy Court

25   shall not be considered an Allowed Claim hereunder. Any party in interest shall

26   have the same right to object to an amendment of Debtor’s schedules as to a
     DEBTOR’S SECOND AMENDED PLAN OF REORGANIZATION
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 1   proof of claim, and any Claim covered by such amendment as to which an

 2   objection has been filed shall not become an Allowed Claim until allowed by a

 3   Final Order. A reference to a specific class of Claims in conjunction with the word

 4   “Allowed” (e.g., Allowed General Unsecured Claim) incorporates this definition of

 5   Allowed Claims.

 6           2.6      Allowed Future Tort Claim-Extended is defined in Article 11.7.3.1.

 7           2.7      Allowed Future Tort Claim-Initial is defined in Article 11.7.2.1.

 8           2.8      AOP means the Executive Committee of the Association of Parishes.

 9           2.9      Avoidance Actions means any action seeking to avoid any transfer of

10   an interest of Debtor in property, or any obligation incurred by Debtor, that is

11   avoidable pursuant to applicable law and the provisions of the Plan, including

12   without limitation actions pursuant to §§544, 545, and 547-550 of the Bankruptcy

13   Code.

14           2.10     Ballot means the ballot approved by the Bankruptcy Court to

15   accompany the Plan and Disclosure Statement which shall be sent to all Creditors

16   entitled to vote on the Plan.

17           2.11     Ballot Deadline is defined in Article 11.1.1.1.

18           2.12     Bankruptcy Code means Title 11 of the United States Code, 11

19   U.S.C. §§101, et seq., as amended.

20           2.13     Bankruptcy Court means the United States Bankruptcy Court for the

21   Eastern District of Washington.

22           2.14     Bankruptcy Rules means the Federal Rules of Bankruptcy Procedure

23   promulgated under 28 U.S.C. 2075, as amended.

24           2.15     Bar Date means the date established by the Court’s Order Fixing

25   Time For Filing Proofs Of Claim Or Interest, which set March 10, 2006 as the date

26   by which a proof of claim must be filed.
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 1           2.16     Business Day means any day, other than a Saturday, Sunday or a

 2   “legal holiday” (as such term is defined in Bankruptcy Rule 9006(a)).

 3           2.17     Cash means United States currency or other immediately available

 4   funds denominated in United States currency.

 5           2.18     Catholic Entities means any entity in any way related to or affiliated

 6   with Debtor which is listed in Schedule 2.18.

 7           2.19     Catholic Entity Property is defined in Article 15.3.1.

 8           2.20     Claim means “claim” as defined in Bankruptcy Code §101(5).

 9           2.21     Claim Payment Date means, as to any Claim, 30 days after the latter

10   of the Effective Date or the date on which such Claim becomes an Allowed Claim.

11           2.22     Class means each of the classifications of Claims and Interests

12   described in Article 4 of the Plan.

13           2.23     Closing Date means the date which is 30 days after the later of (i)

14   the date on which the Confirmation Order was entered or (ii) the date on which any

15   stay of the Confirmation Order entered within 30 days after the date on which the

16   Confirmation Order was entered terminates.

17           2.24     Committees. This term will refer to the TCC and the TLC,

18   collectively.

19           2.25     Confirmation Date means the date on which the Bankruptcy Court

20   enters the Confirmation Order on the Court’s docket.

21           2.26     Confirmation Order means the order of the Bankruptcy Court

22   confirming the Plan pursuant to Bankruptcy Code §1129.

23           2.27     Compromise Fund is defined in Article 11.2.2.

24           2.28     Compromise Process is defined in Article 11.4.

25           2.29     Compromise Tort Claim is defined in Article 11.1.1.

26           2.30     Convenience Fund is defined in Article 11.2.1.
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 1           2.31     Convenience Process is defined in Article 11.3.

 2           2.32     Convenience Tort Claim is defined in Article 11.1.1.

 3           2.33     Creditor means “creditor” as defined in Bankruptcy Code §101(10).

 4           2.34     Debtor means The Catholic Bishop of Spokane, a/k/a The Catholic

 5   Diocese of Spokane, a Washington corporation sole.

 6           2.35     Debtor’s Collateral is defined in Article 15.1.1.2.

 7           2.36     Debtor’s DOT is defined in Article 15.1.1.1.

 8           2.37     Debtor’s Loan Documents is defined in Article 15.1.1.1.

 9           2.38     Debtor’s Note is defined in Article 15.1.1.

10           2.39     Declaratory Relief Action means Cause No. 05 CV 00075 JLQ

11   pending before the Honorable Justin L. Quackenbush in District Court.

12           2.40     Deposit and Loan Claims means Parish and Catholic Entity Secured

13   and Unsecured Claims for deposits to Debtor’s Deposit and Loan Fund.

14           2.41     Disallowed means, with respect to a Claim, such Claim or any

15   portion thereof which has been disallowed by a Final Order.

16           2.42     Discharged Claims is defined in Article 20.1.

17           2.43     Disclosure Statement means the Proponents’ Disclosure Statement

18   approved by the Court for submission to Creditors with this Plan.

19           2.44     Disputed Claim means a Claim other than a Tort Claim scheduled as

20   a disputed or contingent Claim, and a Claim other than a Tort Claim for which a

21   proof of claim has been filed and as to which an objection has been or hereafter is

22   timely filed and which objection has not been withdrawn and has not been denied

23   by a Final Order of the Bankruptcy Court.

24

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26
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 1           2.45     Disputed Claims Reserve is defined in Article 16.2.

 2           2.46     District Court means the United States District Court for the Eastern

 3   District of Washington.

 4           2.47     DLF Loans is defined in Article 9.1.

 5           2.48     Effective Date means the first Business Day on which the conditions

 6   specified in Article 19 of the Plan have been satisfied or waived.

 7           2.49     Estate means the bankruptcy estate of the Debtor created under

 8   Bankruptcy Code §541.

 9           2.50     Estate Fund is defined in Article 15.1.2.

10           2.51     Estate’s Portion of Catholic Entity Payments is defined in Article

11   15.3.1.

12           2.52     Estate’s Portion of Parishes’ Notes is defined in Article 15.4.1.

13           2.53     Executory Contract means every unexpired lease and other contract

14   which is subject to being assumed or rejected by the Debtor under Bankruptcy

15   Code §365, pursuant to the Plan or pursuant to separate motion.

16           2.54     FC DOT is defined in Article 15.9.

17           2.55     FC Fund is defined in Article 11.2.3.

18           2.56     FC Loan Documents is defined in Article 15.9.

19           2.57     FC Process is defined in Article 11.7.

20           2.58     FCR Tort Claim means the Tort Claim held by the FCR.

21           2.59     FCR means Gayle E. Bush, the Future Claims Representative

22   appointed by order of the Bankruptcy Court on June 17, 2005.

23           2.60     Final Order means an (i) order or judgment of the Bankruptcy Court

24   or of the District Court as to which the time for appeal has expired without a notice

25   of appeal having been filed or, if a notice of appeal has been filed, as to which

26   such appeal has been finally resolved, or (ii) a final determination by the TCR (in
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 1   the case of estimation of Matrix Tort Claims, Litigation Tort Claims and

 2   Non-Releasing Litigation Tort Claims pursuant to Article 11.2.4, a final

 3   determination by the TCR with respect to which a timely motion to review such

 4   estimation has not been filed or has been determined by an order or judgment of

 5   the Bankruptcy Court or of the District Court as to which the time for appeal has

 6   expired without a notice of appeal having been filed or, if a notice of appeal has

 7   been filed, as to which such appeal has been finally resolved).

 8           2.61     Finally Determined means, with respect to a Claim, a Claim which

 9   has been Allowed or Disallowed by a Final Order; and, with respect to a Litigation

10   Tort Claim, a Non-Releasing Litigation Tort Claim or a Future Tort Claim the holder

11   of which has elected to proceed under the FTC Litigation Process, a Claim which

12   has been settled by agreement between the holder of such Claim and the Plan

13   Trustee.

14           2.62     FTC Compromise Process is defined in Article 11.7.2.2.1.

15           2.63     FTC Litigation Process is defined in Article 11.7.2.2.3.

16           2.64     FTC Matrix Process is defined in Article 11.7.2.2.2.

17           2.65     FTC Parish Group 1 is defined in Article 15.9.

18           2.66     FTC Parish Group 2 is defined in Article 15.9.

19           2.67     Intentionally left blank.

20           2.68     Future Claims Commitment is defined in Article 15.9.

21           2.69     Future Tort Claimant means a person (i) who knew that he or she

22   had an incident of sexual contact/touching, sexual abuse, or sexual misconduct by

23   an alleged agent of the Debtor while the person was a minor yet, prior to the Bar

24   Date, failed to make the connection between such incident and injuries arising

25   therefrom, (ii) who, prior to the Bar Date, had not discovered or could not have

26   reasonably discovered that, as a minor, he or she had an incident of sexual
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 1   contact/touching, sexual abuse, or sexual misconduct by an alleged agent of the

 2   Debtor, or (iii) who did not reach the age of eighteen prior to the Bar Date who had

 3   claims for sexual abuse by an alleged agent of the Debtor.

 4           2.70     Future Tort Claims means Tort Claims held by Future Tort

 5   Claimants.

 6           2.71     Future Tort Claim-Extended is defined in Article 11.7.3.1.

 7           2.72     Future Tort Claim-Initial is defined in Article 11.7.2.1.

 8           2.73     General Unsecured Claim means an Unsecured Claim against the

 9   Debtor (including, but not limited to, a Claim arising from the rejection of an

10   Executory Contract, a Claim which is the undersecured portion of any Secured

11   Claim, and the Unsecured Claim of Immaculate Heart Retreat Center in the

12   amount of $1,268), which is not an Administrative Expense Claim, a Priority Tax

13   Claim, a Priority Employee Unsecured Claim, a Priority Unsecured Claim, a

14   General Unsecured Convenience Claim, a Parish and Catholic Entity Secured and

15   Unsecured Claim, a Tort Claim, or a Priest Retirement Claim.

16           2.74     General Unsecured Convenience Claim means a General

17   Unsecured Claim in an amount of $500 or less, and a General Unsecured Claim of

18   more than $500 as to which the holder of such Claim irrevocably elects on such

19   holder’s Ballot to reduce the amount of such Claim to $500.

20           2.75     Initial Proportion is defined in Article 11.2.

21           2.76     Insurance Settlements is defined in Article 15.8.

22           2.77     Insurers is defined in Article 15.8.

23           2.78     Insurer Parties is defined in Article 20.4.

24           2.79     Interim Payments is defined in Article 3.1.5.

25           2.80     Litigation Fund is defined in Article 11.2.4.

26           2.81     Litigation Process is defined in Article 11.6.
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 1           2.82     Litigation Tort Claim is defined in Article 11.1.1.1.

 2           2.83     Matrix Protocol means the Matrix Protocol for Compensation of

 3   Sexual Abuse Claims attached as Schedule 2.83.

 4           2.84     Matrix Fund is defined in Article 11.2.4.

 5           2.85     Matrix Process is defined in Article 11.5.

 6           2.86     Matrix Tort Claim is defined in Article 11.1.1.1.

 7           2.87     Non-Releasing Litigation Fund is defined in Article 11.2.4.

 8           2.88     Non-Releasing Litigation Tort Claim is defined in Article 11.1.1.1.

 9           2.89     Note 2 Parishes is defined in Article 15.4.3.1.2.

10           2.90     Ordinary Course Administrative Expense Claim means any Claim

11   described in Bankruptcy Code §503(b) incurred by Debtor in the ordinary course of

12   business since the Petition Date.

13           2.91     Parish means a Parish listed in Schedule 2.91, including any Parish

14   school or other ministry operated by such Parish, and Immaculate Heart Retreat

15   Center.

16           2.92     Parish and Catholic Entity Secured and Unsecured Claim means any

17   Secured or Unsecured Claim held by a Parish or Catholic Entity, except the

18   Unsecured Claim of Immaculate Heart Retreat Center in the amount of $1,268.

19           2.93     Parish Collateral is defined in Article 15.4.3.2.

20           2.94     Parish Group 1 Collateral is defined in Article 15.9.

21           2.95     Parish Group 2 Collateral is defined in Article 15.9.

22           2.96     Parish Entity is defined in Article 15.4.1.

23           2.97     Parish Property is defined in Article 15.4.1.

24           2.98     Parishes’ Loan Documents is defined in Article 15.4.3.2.

25           2.99     Parishes’ Notes is defined in Article 15.4.3.1.3.

26           2.100 Parishes’ Note 1 is defined in Article 15.4.3.1.1.
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 1           2.101 Parishes’ Note 2 is defined in Article 15.4.3.1.2.

 2           2.102 Parish Note 3 is defined in Article 15.4.3.1.3.

 3           2.103 Parish’s DOT is defined in Article 15.4.3.1.2.

 4           2.104 Participating Catholic Entities means the entities identified on

 5   Schedule 2.104.

 6           2.105 Participating Parish means a Parish listed in Schedule 2.105.

 7           2.106 Payment Agreement is defined in Article 15.9.

 8           2.107 Permanent Injunction is defined in Article 20.3.

 9           2.108 Person means “person” as defined in Bankruptcy Code §101(41),

10   and all governmental units.

11           2.109 Petition Date means December 6, 2004, which is the date the Debtor

12   filed a voluntary Chapter 11 petition commencing the Reorganization Case.

13           2.110 Petition means the petition by which the Debtor commenced the

14   Reorganization Case.

15           2.111 Plan means this Plan of Reorganization, and every restatement,

16   amendment, or modification thereof, if any.

17           2.112 Plan Trust means the trust that will be created under the Plan Trust

18   Agreement pursuant to Washington law and the Plan.

19           2.113 Plan Trust Agreement means the Plan Trust Agreement in form and

20   substance acceptable to Proponents and approved by the Bankruptcy Court in the

21   Confirmation Order.

22           2.114 Plan Trust Costs and Expenses is defined in Article 11.2.

23           2.115 Plan Trustee means the trustee provided for in Article 13.2.

24           2.116 Plan Trust Reserve is defined in Article 11.2.

25           2.117 Post Confirmation Fees is defined in Article 25.3.

26
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 1           2.118 Post Petition Abuse Claim means a Claim for Abuse that occurred

 2   after the Petition was filed and before the Effective Date.

 3           2.119 Priest Retirement Claims means the legal, equitable and contractual

 4   rights of the Priests arising under the Priest Retirement Plan.

 5           2.120 Priest Retirement Plan means the Retirement Plan Agreement for

 6   the Priests of the Catholic Diocese of Spokane, as it may be amended from time to

 7   time, a copy of which is available from Debtor on request.

 8           2.121 Priority Employee Unsecured Claim means every Unsecured Claim

 9   of an employee of the Debtor for wages, salaries, or commissions, including

10   vacation, severance or sick leave pay, which is entitled to priority pursuant to

11   Bankruptcy Code §507(a)(4) and (5).

12           2.122 Priority Tax Claim means every Unsecured Claim or portion thereof

13   which is entitled to priority pursuant to Bankruptcy Code §507(a)(8).

14           2.123 Priority Unsecured Claim means an Unsecured Claim entitled to

15   priority pursuant to Bankruptcy Code §507(a)(6) and (7).

16           2.124 Professional Fees means fees and costs of a Professional Person.

17           2.125 Professional Person means a person employed pursuant to §§327,

18   328, and 1103 of the Bankruptcy Code and Bankruptcy Rules 2014.

19           2.126 Proponents means the AOP, the Debtor, the FCR and the TCC.

20           2.127 Questionnaire means a questionnaire in the form agreed to by the

21   Proponents and the TLC.

22           2.128 Release Fund is defined in Article 15.1.2.

23           2.129 Release of Claims is defined in Article 11.1.1.

24           2.130 Released Parties is defined in Article 20.3.

25           2.131 Release Portion of Catholic Entity Payments is defined in Article

26   15.3.2.
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 1            2.132 Release Portion of Parishes’ Note is defined in Article 15.4.2.

 2            2.133 Reorganization Case means the case under Chapter 11 of the

 3   Bankruptcy Code which was commenced by the filing of a voluntary Chapter 11

 4   petition by the Debtor on the Petition Date.

 5            2.134 Reorganized Debtor means the Debtor, from and after the Effective

 6   Date.

 7            2.135 Responsible Person means a person (i) who was a Priest, an

 8   employee or other agent of the Debtor or any Parish at the time such person

 9   committed an act of Abuse, or (ii) for whom or for whose actions the Debtor or any

10   Parish was otherwise legally liable at the time of such Abuse.

11            2.136 Section 541 Litigation means Adversary Proceeding No. 05-80038

12   filed by the TLC against the Debtor, the Parishes and other parties on February 4,

13   2005, and Adversary Proceeding No. 04-00291 filed by Michael Shea against the

14   Debtor on December 22, 2004.

15            2.137 Secured Claim means every Claim, the repayment of which is

16   secured by the assets of the Debtor to the extent of the lesser of the value of such

17   security or the amount of the Claim, including any right to setoff asserted by a

18   Creditor that is treated as a Secured Claim under the Bankruptcy Code, except a

19   Parish and Catholic Entity Secured and Unsecured Claim.

20            2.138 Secured Creditor means every Creditor which holds a Secured

21   Claim.

22            2.139 Settled Compromise Tort Claim is defined in Article 11.1.2.

23            2.140 Settled Matrix Tort Claim is defined in Article 11.1.2.

24            2.141 TCC means the Official Committee of Tort Claimants appointed by

25   the U.S. Trustee on December 23, 2004, as reconstituted on February 2, 2005, to

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 1   represent the interests of Tort Claimants who, as of the Date of Filing, had not filed

 2   a lawsuit against the Debtor, excluding Future Tort Claimants.

 3           2.142 TCR means the Tort Claim Reviewer provided for in Article 13.2.

 4           2.143 Termination Reserve is defined in Article 15.5.

 5           2.144 TLC means the Official Committee of Tort Litigants appointed by the

 6   U.S. Trustee on February 2, 2005, to represent the interests of all persons who

 7   had asserted a Tort Claim against the Debtor and who had filed a lawsuit against

 8   the Debtor, as of the Date of Filing.

 9           2.145 Tort Claim means all Claims related to or arising out of Abuse by a

10   Responsible Person, and shall include all Future Tort Claims.

11           2.146 Tort Claimant means a Person who asserts a Tort Claim, including

12   Future Tort Claimants.

13           2.147 Trust Property is defined in Article 15.1.1.3.

14           2.148 Unsecured Claim means every Claim or portion thereof, regardless

15   of the priority of such Claim, which is not a Secured Claim.

16                                       ARTICLE 3
                                    UNCLASSIFIED CLAIMS
17
             3.1      Administrative Expense Claims. Each holder of an Allowed
18
     Administrative Expense Claim shall be paid in full in Cash by the Reorganized
19
     Debtor on the Claim Payment Date, except:
20
                      3.1.1    as otherwise ordered by the Court;
21
                      3.1.2    an Ordinary Course Administrative Expense Claim shall be
22
     deemed allowed in the amount shown in the records of Debtor unless such Claim
23
     is a Disputed Claim, and such Claim shall be paid in the ordinary course of
24
     business in accordance with the terms and conditions of the particular agreement
25
     governing such Claim;
26
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 1                    3.1.3    a Post Petition Abuse Claim shall be determined, and, if

 2   sustained, paid pursuant to applicable non-bankruptcy law.

 3                    3.1.4    to the extent that a holder of an Allowed Administrative

 4   Expense Claim has agreed to a different treatment of such Claim; and

 5                    3.1.5    in the case of Professional Fees, on the date when the

 6   order of the Bankruptcy Court allowing such Claim becomes a Final Order. On or

 7   before September 14, 2006, the Debtor made interim payments to Professional

 8   Persons pursuant to an Order Granting Motion for Order Establishing Interim Fee

 9   Application and Expense Reimbursement Procedure entered by the Bankruptcy

10   Court on February 2, 2005 ("Interim Payments"). To the extent the total payments

11   of Allowed Administrative Expense Claims for Professional Fees incurred on or

12   before the Effective Date of Professional Persons whose employment was

13   approved by the Bankruptcy Court on or before September 14, 2006, and of the

14   person designated in Article 13.2 as the TCR, exceeds the Interim Payments, the

15   amount in excess of the Interim Payments shall reduce pro tanto the amount of the

16   $48 million Debtor's Note.

17           3.2      Priority Tax Claims. Each holder of an Allowed Priority Tax Claim

18   shall be paid in full in Cash by the Reorganized Debtor, including interest of 5%

19   per annum from the Claim Payment Date, pursuant to the provisions of Bankruptcy

20   Code §1129(a)(9)(C) in equal quarterly installments over a period which begins on

21   the first day of the fourth calendar month after the Claim Payment Date and ends

22   at the end of a six year period from the date of assessment of such Claim.

23           3.3      Unclassified Claims not impaired. Administrative Claims and Priority

24   Tax Claims are not impaired under the Plan.

25                                       ARTICLE 4
                                 CLASSIFICATION OF CLAIMS
26
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 1           4.1      Classification. All Claims against Debtor except Unclassified Claims

 2   are classified as set forth in this Article 4. A Claim is in a particular Class only to

 3   the extent it qualifies within the definition of such Class and is in a different Class

 4   to the extent it qualifies within the definition of such different Class.

 5           4.2      Classes. For purposes of the Plan, Claims against the Debtor are

 6   hereby classified in the following classes in accordance with Bankruptcy Code

 7   §1122(a) as follows:

 8                    4.2.1    Class 1. Priority Employee Unsecured Claims.

 9                    4.2.2    Class 2. Priority Unsecured Claims.

10                    4.2.3    Class 3. Secured Claims.

11                    4.2.4    Class 4. General Unsecured Convenience Claims.

12                    4.2.5    Class 5. Deposit and Loan Claims and Other Parish and

13   Catholic Entity Secured and Unsecured Claims.

14                    4.2.6    Class 6. General Unsecured Claims.

15                    4.2.7    Class 7. Tort Claims.

16                    4.2.8    Class 8. Priest Retirement Claims.

17                                      ARTICLE 5
                               TREATMENT OF CLASS 1 CLAIMS
18                        (PRIORITY EMPLOYEE UNSECURED CLAIMS)
19           5.1      Distribution. Each holder of an Allowed Priority Employee

20   Unsecured Claim shall be treated by the Reorganized Debtor in accordance with

21   the policies and procedures regarding each item comprising such Claim in effect

22   on the latter of Claim Payment Date or the date which is 30 days after the date on

23   which such Claim would have become matured and liquidated but for the filing of

24   the Petition.

25           5.2      Impairment. Class 1 Claims are not impaired under the Plan.

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 1                                       ARTICLE 6
                               TREATMENT OF CLASS 2 CLAIMS
 2                             (PRIORITY UNSECURED CLAIMS)

 3           6.1      Distribution. Each holder of an Allowed Priority Unsecured Claim

 4   shall be paid in full in Cash by the Reorganized Debtor on the Claim Payment

 5   Date.

 6           6.2      Impairment. Class 2 Claims are not impaired under the Plan.

 7                                      ARTICLE 7
                               TREATMENT OF CLASS 3 CLAIMS
 8                                  (SECURED CLAIMS)

 9           7.1      Distribution. Each holder of an Allowed Secured Claim shall be paid

10   in full in Cash by the Reorganized Debtor on or before the Claim Payment Date.

11           7.2      Disputed Claims. Notwithstanding the pendency of any appeal to

12   any state or local taxing authorities of a determination of property taxes or

13   assessment on the Petition Date, nothing contained herein will prohibit the Debtor

14   or the Reorganized Debtor from exercising its rights pursuant to Bankruptcy Code

15   §505 and having a Class 3 Claim determined by the Bankruptcy Court to the

16   extent that such Claim is a Disputed Claim.

17           7.3      Retention of Liens. Each Holder of an Allowed Secured Claim shall

18   retain its lien(s) on its security to the extent of its Allowed Secured Claim.

19           7.4      Impairment. Class 3 Claims are not impaired under the Plan.

20                                   ARTICLE 8
                             TREATMENT OF CLASS 4 CLAIMS
21                     (GENERAL UNSECURED CONVENIENCE CLAIMS)

22           8.1      Distribution. Each holder of an Allowed General Unsecured

23   Convenience Claim shall be paid in full in Cash by the Reorganized Debtor on or

24   before the Claim Payment Date.

25           8.2      Impairment. Class 4 Claims are not impaired pursuant to the Plan.

26
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 1                             ARTICLE 9
                      TREATMENT OF CLASS 5 CLAIMS
 2   (DEPOSIT AND LOAN CLAIMS AND OTHER PARISH AND CATHOLIC ENTITY
                    SECURED AND UNSECURED CLAIMS)
 3
             9.1      Distribution and Security. On the Effective Date, the Reorganized
 4
     Debtor shall, without representation or warranty, assign to an entity acceptable to
 5
     the Proponents, in trust for the benefit of each holder of an Allowed Deposit and
 6
     Loan Claim, all then outstanding loans payable to the Debtor’s Deposit and Loan
 7
     Fund (“DLF Loans”), subject to the first and second priority security interests
 8
     granted to the Plan Trustee by the Debtor’s Loan Documents and the FC Loan
 9
     Documents, and shall instruct all obligors on the DLF Loans to make all payments
10
     directly to such entity. The Plan Trustee’s interest in the DLF Loans and the
11
     proceeds thereof shall be senior to the interest(s) of: (a) any beneficial interest of a
12
     holder of an Allowed Deposit and Loan Claim in the DLF Loans and proceeds
13
     thereof and (b) any holder of a right of setoff. Such entity shall hold all payments
14
     received on and proceeds of DLF Loans in trust subject to the Plan Trustee’s first
15
     and second priority security interests until the date on which the October 1, 2007
16
     $37 million payment and the December 31, 2007 $10 million plus interest payment
17
     on Debtor’s Note are paid in full when due and shall invest such payments in short
18
     term obligations of or insured by the United States of America. After the date on
19
     which the October 1, 2007 $37 million payment and the December 31, 2007 $10
20
     million plus interest payment on Debtor’s Note are paid in full when due, such
21
     entity shall distribute all then remaining proceeds of DLF Loans to holders of
22
     Allowed Deposit and Loan Fund Claims in accordance with an agreement between
23
     the Debtor or the Reorganized Debtor and the Parishes and Catholic Entities to be
24
     negotiated outside this Plan, and shall continue to hold, collect and distribute the
25
     proceeds of the DLF Loans for the benefit of all holders of Allowed Deposit and
26
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 1   Loan Claims. The balance due to each holder of an Allowed Deposit and Loan

 2   Claim shall be paid in accordance with an agreement between the Debtor or the

 3   Reorganized Debtor and the Parishes and Catholic Entities to be negotiated

 4   outside this Plan. Allowed Deposit and Loan Claims shall not be paid in full or in

 5   part or offset against the DLF Loans or proceeds thereof before the date on which

 6   the October 1, 2007 $37 million payment and the December 31, 2007 $10 million

 7   plus interest payment on Debtor’s Note are paid in full when due.

 8           9.2      Allowance. All Deposit and Loan Claims listed in Schedule 9.2 shall

 9   be allowed in the amount so listed in full on the Effective Date. All other Parish

10   and Catholic Entity Secured and Unsecured Claims, including claims for liens on

11   or otherwise related to the Parish Properties, shall be disallowed in full on the

12   Effective Date.

13           9.3      Impairment. Class 5 Claims are impaired under the Plan.

14                                     ARTICLE 10
                               TREATMENT OF CLASS 6 CLAIMS
15                             (GENERAL UNSECURED CLAIMS)
16           10.1     Distribution. Each holder of an Allowed General Unsecured Claim

17   shall be paid in full in Cash by the Reorganized Debtor in 2 equal installments,

18   plus interest at the rate of 5% per annum from and after the Effective Date, with

19   the first installment to be paid on the later of January 31, 2008 or the first Business

20   Day that is 6 months after the Claim Payment Date, and the second installment to

21   be paid on the later of July 31, 2008 or the first Business Day that is 12 months

22   after the Claim Payment Date.

23           10.2     Impairment. The Class 6 General Unsecured Claims are impaired

24   under the Plan.

25                                     ARTICLE 11
                               TREATMENT OF CLASS 7 CLAIMS
26                                   (TORT CLAIMS)
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 1           11.1     Election of Treatment of Class 7 Claims.

 2                    11.1.1     Election of Convenience Tort Claim, Compromise Tort

 3   Claim, Matrix Tort Claim, Litigation Tort Claim or Non-Releasing Litigation Tort

 4   Claim Treatment.

 5                             11.1.1.1 Election and Release. Each holder of a Class 7 Tort

 6   Claim (except the FCR, Future Tort Claimants, Settled Compromise Tort

 7   Claimants, and Settled Matrix Tort Claimants) may elect to be treated as a holder

 8   of (i) a “Convenience Tort Claim”, which is a Tort Claim to be allowed and paid

 9   under the Convenience Process, (ii) a “Compromise Tort Claim”, which is a Tort

10   Claim to be allowed and paid under the Compromise Process, (iii) a “Matrix Tort

11   Claim”, which is a Tort Claim to be allowed and paid under the Matrix Process, (iv)

12   a “Litigation Tort Claim”, which is a Tort Claim to be allowed and paid under the

13   Litigation Process, or (v) a “Non-Releasing Litigation Tort Claim”, which is a Tort

14   Claim to be allowed and paid under the Litigation Process. Such election shall be

15   made on such holder’s Ballot, and, except in the case of an election of

16   Non-Releasing Tort Claim treatment, executing and delivering to Debtor on or

17   before April 13, 2007 (the “Ballot Deadline”) a “Release of Claims” in the form

18   incorporated into the Ballot pursuant to which the Tort Claimant releases all

19   Claims against the Parishes, the Catholic Entities (except Morning Star Boys

20   Ranch) and the Insurers in exchange for the treatment of such Claims under this

21   Plan. Notwithstanding the foregoing, if before or after the Effective Date the

22   holder of a Class 7 Tort Claim (except the FCR, Future Tort Claimants, Settled

23   Compromise Tort Claimants and Settled Matrix Tort Claimants) fails to comply with

24   an order of the Bankruptcy Court requiring a sworn oral statement to be given to

25   the person designated in Article 13.2 as the TCR regarding the Abuse suffered by

26   such Claimants, within 30 days after the date set for the taking of such statement
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 1   (or such later date agreed to by the TCR or set by the Bankruptcy Court), such

 2   holder shall be deemed to have elected to be treated as a holder of a

 3   Convenience Tort Claim, which deemed election shall be irrevocable, and to have

 4   executed and delivered a Release of Claims. Counsel for any Tort Claimant who

 5   is required to provide a sworn oral statement shall be provided a copy of the Matrix

 6   Protocol before such statement is given.

 7                             11.1.1.2 Complaint by Litigation Tort Claimant and

 8   Non-Releasing Litigation Tort Claimants: Release by Non-Releasing Litigation Tort

 9   Claimants. If holder of a Litigation Tort Claim or a Non-Releasing Litigation Tort

10   Claim has not filed a complaint alleging such claim in a court of competent

11   jurisdiction before making an election to be treated as a holder of a Litigation Tort

12   Claim or a Non-Releasing Litigation Tort Claim, such holder must file and serve on

13   the Plan Trustee such a complaint within 60 days after the Effective Date. If a

14   holder of a Litigation Tort Claim does not file such complaint, such holder shall be

15   deemed to have elected to be treated as a holder of a Matrix Tort Claim. If a

16   holder of a Non-Releasing Litigation Tort Claim does not file such complaint, such

17   holder shall be deemed to have conditionally elected to be treated as a holder of a

18   Matrix Tort Claim. To complete such conditional election, such holder must

19   execute and deliver to the Debtor a Release of Claims within 60 days after the

20   Effective Date. Debtor shall give such holder notice within 15 days after the

21   Effective Date of such conditional election and his or her right to complete such

22   conditional election. If such holder does not execute and deliver to the Debtor a

23   Release of Claims within 60 days after the Effective Date, such holder shall be

24   deemed to have elected to be treated as a holder of a Convenience Tort Claim,

25   which election shall be irrevocable, and to have executed and delivered a Release

26   of Claims.
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     JOINTLY PROPOSED BY AOP, DEBTOR, FCR AND TCC -21
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 1                             11.1.1.3 Amended Election by Holders of Compromise Tort

 2   Claims, Matrix Tort Claims, Litigation Tort Claims and Non-Releasing Litigation

 3   Tort Claims.

 4                                     11.1.1.3.1 Litigation Tort Claim and Non-Releasing

 5   Litigation Tort Claim. At any time prior to earliest of the date on which the Plan

 6   Trustee has filed a dispositive motion with respect to, or trial has commenced on,

 7   the Claim of a holder of a Litigation Tort Claim or a Non-Releasing Litigation Tort

 8   Claim, such holder may amend his or her election to instead elect treatment as the

 9   holder of a Convenience Tort Claim, Compromise Tort Claim, or Matrix Tort Claim

10   by delivering a written notice of such election (and in the case of a holder of a

11   Non-Releasing Litigation Tort Claim, a Release of Claims) to the TCR and the

12   Plan Trustee. Any such amended election shall be irrevocable. Except as

13   provided in this Article 11.1.1.3.1, an election of treatment as a holder of a

14   Litigation Tort Claim or a Non-Releasing Litigation Tort Claim is irrevocable. Any

15   such amended election shall be deemed to be a consent to a limitation of the

16   amount of any distribution with respect to such holder’s Allowed Claim to the

17   lesser of

18                                                (a)     the portion of the Litigation Fund or

19   Non-Releasing Litigation Fund which bears the same proportion to the total of

20   such Fund as the amount of such holder’s Litigation Tort Claim or Non-Releasing

21   Litigation Tort Claim as estimated under Article 11.2.4 bears to the amount of all

22   Litigation Tort Claim or Non-Releasing Litigation Tort Claim as estimated under

23   Article 11.2.4, minus

24                                                        (i)    all pre-litigation and

25   litigation Professional Fees and expenses attributable to such Claim which

26   accrued through the date of such amended election, and
     DEBTOR’S SECOND AMENDED PLAN OF REORGANIZATION
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 1                                                      (ii)   the portion of all other Plan

 2   Trust Costs and Expenses allocated to the Litigation Fund or the Non-Releasing

 3   Litigation Fund which accrued through the date of such amended election which

 4   bears the same proportion to all such Plan Trust Costs and Expenses as the

 5   amount of such holder’s Litigation Tort Claim or Non-Releasing Litigation Tort

 6   Claim as estimated under Article 11.2.4 bears to the amount of all Litigation Tort

 7   Claim or Non-Releasing Litigation Tort Claim as estimated under Article 11.2.4, or

 8                                              (b)     the distribution such holder would

 9   have received if such amended election had been such holder’s initial election or

10   deemed election, and such holder’s Claim had been included in determining the

11   amount of the applicable Fund (e.g., the Matrix Fund in the case of an amended

12   election to be treated as the holder of a Matrix Tort Claim, etc.) under Article 11.2.

13   The amount so determined shall be transferred from the Litigation Fund or the

14   Non-Releasing Litigation Fund to the Fund from which such amended Claim will

15   be paid.

16                                   11.1.1.3.2 Matrix Tort Claim. At any time prior to

17   final allowance or disallowance of a Matrix Tort Claim, the holder of such Claim

18   may amend his or her election or deemed election to instead elect treatment as

19   the holder of a Convenience Tort Claim or a Compromise Tort Claim by delivering

20   a written notice of such election to the TCR. Any such amended election shall be

21   irrevocable. Except as provided in this Article 11.1.1.3.2, an election or deemed

22   election of treatment as a holder of a Matrix Tort Claim is irrevocable. If the

23   amended Claim is allowed, the allowed amount of such Claim shall be transferred

24   from the Matrix Fund to the Fund from which such amended Claim will be paid.

25                                   11.1.1.3.3 Compromise Tort Claim. At any time

26   prior to final allowance or disallowance of a Compromise Tort Claim, the holder of
     DEBTOR’S SECOND AMENDED PLAN OF REORGANIZATION
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 1   such Claim may amend his or her election to instead elect treatment as the holder

 2   of a Convenience Tort Claim by delivering a written notice of such election to the

 3   TCR. Any such amended election shall be irrevocable. Except as provided in this

 4   Article 11.1.1.3.3, an election of treatment as a holder of a Compromise Tort Claim

 5   is irrevocable. If the amended Claim is allowed, the allowed amount of such Claim

 6   shall be transferred from the Compromise Fund to the Convenience Fund.

 7                             11.1.1.4 Deemed Election of Matrix Tort Claim or

 8   Non-Releasing Litigation Tort Claim Treatment. Each holder of a Class 7 Tort

 9   Claim (except the FCR, Future Tort Claimants, Settled Compromise Tort

10   Claimants, Settled Matrix Tort Claimants and Non-Releasing Litigation Tort

11   Claimants) who does not elect to be treated as a holder of a Convenience Tort

12   Claim, a Compromise Tort Claim, a Matrix Tort Claim or a Litigation Tort Claim by

13   making such election on such holder’s Ballot and executing and delivering to

14   Debtor on or before the Ballot Deadline a Release of Claims shall be deemed to

15   have conditionally elected to be treated as a holder of a Matrix Tort Claim. To

16   complete such conditional election, such holder must execute and deliver to the

17   Debtor a Release of Claims within 60 days after the Effective Date. Debtor shall

18   give such holder notice within 15 days after the Effective Date of such conditional

19   election and his or her right to complete such conditional election. If such holder

20   does not execute and deliver to the Debtor a Release of Claims within 60 days

21   after the Effective Date, such holder shall be deemed to have elected to be treated

22   as a holder of a “Non-Releasing Litigation Tort Claim”, which is a Tort Claim to be

23   allowed and paid under the Litigation Process. A reference to a Litigation Tort

24   Claim does not include a Non-Releasing Litigation Tort Claim.

25                    11.1.2     Deemed Election of Settled Compromise Tort Claim or

26   Settled Matrix Tort Claim Treatment. A holder of a “Settled Compromise Tort
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 1   Claim”, which is a Claim settled by Debtor in a stated amount of $45,000 or less

 2   listed on Schedule 11.1.2(a) the settlement of which is approved by the

 3   Bankruptcy Court under Bankruptcy Rule 9019, shall be deemed to have elected

 4   to be treated under the Compromise Process, and shall be required to execute

 5   and deliver to Debtor on or before the Ballot Deadline a Release of Claims. A

 6   holder of a “Settled Matrix Tort Claim”, which is a Claim settled by Debtor in a

 7   stated amount more than $45,000 listed on Schedule 11.1.2(b), the settlement of

 8   which is approved by the Bankruptcy Court under Bankruptcy Rule 9019, shall be

 9   deemed to have elected to be treated under the Matrix Process, and shall be

10   required to execute and deliver to Debtor on or before the Ballot Deadline a

11   Release of Claims. A reference to a Compromise Tort Claim or a Matrix Tort

12   Claim does not include a Settled Compromise Tort Claim or a Settled Matrix Tort

13   Claim, respectively. A holder of a Tort Claim listed on Schedules 11.1.2(a) or (b)

14   the settlement of which is not approved by the Bankruptcy Court under Bankruptcy

15   Rule 9019 may elect to be treated under Articles 11.1.1.

16                    11.1.3   FCR Tort Claim and Future Tort Claims. The FCR Tort

17   Claim and Future Tort Claims shall be allowed and paid through the FC Process.

18                    11.1.4   Combined Voting. For purposes of accepting or rejecting

19   the Plan, all Class 7 Tort Claims shall be treated as a single class.

20           11.2     Allocation of Estate Fund and Release Fund. As soon as practicable

21   after the Effective Date, the Plan Trustee shall establish a reserve (“Plan Trust

22   Reserve”) for the costs and expenses of administration of the Plan Trust, including

23   but not limited to fees and expenses, including Professional Fees, of the TCR and

24   Plan Trustee, Post-Confirmation Professional Fees payable by the Plan Trust

25   pursuant to Article 25.3 and reasonable contingencies (“Plan Trust Costs and

26   Expenses”). From time to time thereafter, the Plan Trustee may increase the Plan
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 1   Trust Reserve. The Plan Trust Reserve shall be funded from the Estate Fund and

 2   the Release Fund in proportion to the amount of such Funds, after reduction of the

 3   amount of the Estate Fund pursuant to Article 15.1.2 to account for certain

 4   payments of Allowed Administrative Expense Claims for Professional Fees (“Initial

 5   Proportion”). As soon as practicable after the Effective Date, the balance of the

 6   Estate Fund and the Release Fund shall be allocated as follows:

 7                    11.2.1   Convenience Fund. An amount equal to the sum of all

 8   Allowed Convenience Tort Claims, plus a reserve of $15,000 multiplied by the

 9   number of Convenience Tort Claims that have not been Finally Determined, to a

10   fund for payment of the aggregate Allowed Convenience Tort Claims

11   (“Convenience Fund”), charged to the Estate Fund and the Release Fund in

12   accordance with the Initial Proportion.

13                    11.2.2   Compromise Fund. An amount equal to the sum of (i) all

14   Allowed Compromise Tort Claims, (ii) all Allowed Settled Compromise Tort Claims,

15   (iii) all Tort Claims listed on Schedule 11.1.2(a) as to which a Bankruptcy Rule

16   9019 proceeding has not been determined by a Final Order, and (iv) the product of

17   $45,000 multiplied by the number of Compromise Tort Claims that have not been

18   Finally Determined, to a fund for the aggregate Allowed Compromise Tort Claims

19   and Allowed Settled Compromise Tort Claims (“Compromise Fund”), charged to

20   the Estate Fund and the Release Fund in accordance with the Initial Proportion.

21                    11.2.3   FC Fund. $1 million for Allowed Future Tort Claims-Initial

22   (“FC Fund”), charged to the Estate Fund and the Release Fund in accordance with

23   the Initial Proportion.

24                    11.2.4   Matrix Fund, Litigation Fund, and Non-Releasing Litigation

25   Fund. The TCR shall estimate the aggregate amount of the Matrix Tort Claims,

26   Litigation Tort Claims and Non-Releasing Litigation Tort Claims by assigning each
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 1   claim to a tier of the Matrix Protocol and utilizing the mean of the range of values

 2   for each claim in such tier, and shall mail a summary of the results of such

 3   estimation to all holders of Matrix Tort Claims, Litigation Tort Claims, and

 4   Non-Releasing Litigation Tort Claims and to their counsel if such counsel has

 5   requested such summary in writing from the TCR. Such estimation shall be

 6   reviewable by the Bankruptcy Court only on a motion of any party in interest filed

 7   within 10 days after the date such summary is mailed by the TCR, and shall be

 8   approved unless the moving party proves that the TCR’s estimation in the

 9   aggregate constitutes an abuse of discretion. The balance of the Estate Fund, net

10   of the portion of the Plan Trust Reserve, the Convenience Fund, the Compromise

11   Fund, and the FC Fund charged to the Estate Fund, shall be finally and

12   conclusively allocated (i) to a fund for payment of the aggregate Allowed Matrix

13   Tort Claims and Allowed Settled Matrix Tort Claims (“Matrix Fund”), (ii) to a fund

14   for the payment of the aggregate Allowed Litigation Tort Claims (“Litigation Fund”),

15   and (iii) to a fund for the payment of the aggregate Allowed Non-Releasing

16   Litigation Tort Claims (“Non-Releasing Litigation Fund”) based on the relative

17   proportions of (a) the sum of all estimated Matrix Tort Claims and all Allowed

18   Settled Matrix Tort Claims, (b) the sum of all estimated Litigation Tort Claims, and

19   (c) the sum of all estimated Non-Releasing Litigation Tort Claims. The balance of

20   the Release Fund, net of the portion of the Plan Trust Reserve, the Convenience

21   Fund, the Compromise Fund, and the FC Fund charged to the Release Fund, shall

22   be finally and conclusively allocated to the Matrix Fund and the Litigation Fund

23   based on the relative proportions of (a) the sum of all estimated Matrix Tort Claims

24   and all Allowed Settled Matrix Tort Claims, and (b) the sum of all estimated

25   Litigation Tort Claims.

26
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 1                    11.2.5   Separate Administration. After the Estate Fund and the

 2   Release Fund are allocated to a Fund pursuant to this Article 11.2, such Fund

 3   shall be separately administered by the Plan Trustee; and all Plan Trust Costs and

 4   Expenses of each such Fund, including costs of litigating or otherwise determining

 5   Tort Claims potentially payable from such Fund, shall be borne solely by such

 6   Fund; provided, however, that if there is any balance remaining in the Compromise

 7   Fund or the Convenience Fund after all Allowed Claims payable from such Fund

 8   are paid in full, and all Plan Trust Costs and Expenses of such Fund are paid in

 9   full, such balance shall be distributed to the Matrix Fund, the Litigation Fund, and

10   the Non-Releasing Litigation Fund in proportion to the original amount of such

11   Funds; provided further, that if there is any balance remaining in the Litigation

12   Fund or the Non-Releasing Litigation Fund after all Allowed Claims payable from

13   such Fund are paid in full, and all Plan Trust Costs and Expenses of such Fund

14   are paid in full, such balance shall be distributed to the Matrix Fund. If the net

15   proceeds of the liquidation of any item of Trust Property liquidated after allocation

16   to the Matrix Fund, the Litigation Fund, and the Non-Releasing Litigation Fund is

17   different from the fair market value estimated by the Plan Trustee when making

18   such allocation, the difference shall be allocated between such Funds in proportion

19   to the original amount of such Funds after adjustment for any reallocation from the

20   Litigation Fund or the Non-Releasing Litigation Fund to the Matrix Fund under

21   Article 11.1.1.3.1.

22           11.3     Convenience Process.

23                    11.3.1   Distribution. Each holder of an Allowed Convenience Tort

24   Claim shall be paid such holder’s Allowed Claim in Cash by the Plan Trust from

25   the Convenience Fund on the later of the Claim Payment Date or the date which is

26
     DEBTOR’S SECOND AMENDED PLAN OF REORGANIZATION
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 1   30 days after the date on which a portion of the Estate Fund and a portion of the

 2   Release Fund is allocated to the Convenience Fund.

 3                    11.3.2     Allowance. A Convenience Tort Claim shall be allowed in

 4   the amount of $15,000 if the TCR determines based on the Tort Claimant’s proof

 5   of claim in the Bankruptcy Case and, if requested by the TCR, the Tort Claimant’s

 6   Questionnaire that a preponderance of the evidence shows that the Tort Claimant

 7   was Abused. The TCR shall not consider (i) whether the person who Abused the

 8   Tort Claimant was a Responsible Person, (ii) any applicable statute of limitations

 9   or the passage of time since the date(s) of such Abuse, or (iii) any other defenses

10   of Debtor, in making such determination. The TCR may, however, consider the

11   credibility of the Tort Claimant and the facts alleged in support of the Claim.

12           11.4     Compromise Process.

13                    11.4.1     Distribution.

14                             11.4.1.1 Allowed Compromise Tort Claims. Each holder of

15   an Allowed Compromise Tort Claim shall be paid the amount of such holder’s

16   Allowed Claim in Cash by the Plan Trust from the Compromise Fund on the later

17   of the Claim Payment Date or the date which is 30 days after the date on which a

18   portion of the Estate Fund and a portion of the Release Fund is allocated to the

19   Compromise Fund.

20                             11.4.1.2 Allowed Settled Compromise Tort Claims. Each

21   holder of an Allowed Settled Compromise Tort Claim shall be paid in Cash the

22   agreed amount of such holder’s Claim set forth in Schedule 11.2.1(a) by the Plan

23   Trust from the Compromise Fund on the later of the Claim Payment Date or the

24   date which is 30 days after the date on which a portion of the Estate Fund and a

25   portion of the Release Fund is allocated to the Compromise Fund.

26                    11.4.2     Allowance.
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 1                             11.4.2.1 Compromise Tort Claims. A Compromise Tort

 2   Claim shall be allowed if the TCR determines that the Tort Claimant has proved by

 3   a preponderance of the evidence that Tort Claimant was Abused by a Responsible

 4   Person, and that the Tort Claimant’s Abuse would fall within one or more of Tiers

 5   1-3 of the Matrix Protocol if the Claim were determined under the Matrix Process.

 6   Such Claim shall be allowed in the amount of $45,000 if the TCR determines by a

 7   preponderance of the evidence that the holder of such Claim was a minor at the

 8   time of such Abuse, and in the amount of $30,000 if the TCR determines by a

 9   preponderance of the evidence that the holder of such Claim was an adult at the

10   time of such Abuse. The TCR shall not consider any applicable statute of

11   limitations, the passage of time since the date(s) of such Abuse, or any other

12   defenses of Debtor, in making such determinations. The TCR may, however,

13   consider the credibility of the Tort Claimant and the facts alleged in support of the

14   claim.

15                             11.4.2.2 Allowed Settled Compromise Tort Claims. A Settled

16   Compromise Tort Claim shall be automatically allowed upon the Effective Date in

17   the amount listed on Schedule 11.1.2(a).

18                    11.4.3     Tier 4 Claims. If the TCR determines by a preponderance

19   of the evidence that the Abuse of a Tort Claimant who has elected to be treated as

20   a Compromise Tort Claim would fall within only Tier 4 of the Matrix Protocol if the

21   Claim were determined under the Matrix Process, such Claimant’s Claim shall be

22   determined, and, if allowed, paid under the Convenience Process. The allowed

23   amount of such Claim shall be transferred from the Matrix Fund to the

24   Convenience Fund.

25            11.5    Matrix Process.

26
     DEBTOR’S SECOND AMENDED PLAN OF REORGANIZATION
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 1                    11.5.1     Matrix Protocol. The Matrix Protocol shall be implemented

 2   and enforced by the Plan Trustee and the TCR as though fully set forth herein.

 3                    11.5.2     Distribution. Each holder of an Allowed Matrix Tort Claim,

 4   and each holder of an Allowed Settled Matrix Tort Claim, shall be paid in Cash by

 5   the Plan Trust such holder’s pro rata share of the Matrix Fund within 30 days after

 6   the later of the date on which all Matrix Tort Claims have been Finally Determined,

 7   or the amount of the Matrix Tort Claims has been estimated by a Final Order and

 8   the Matrix Fund has been funded.

 9                    11.5.3     Allowance.

10                             11.5.3.1 Settled Matrix Tort Claim. A Settled Matrix Tort

11   Claim shall be automatically allowed upon the Effective Date in the amount set

12   forth in Schedule 11.1.2(b).

13                             11.5.3.2 Matrix Tort Claim. A Matrix Tort Claim shall be

14   allowed if the TCR determines that the Tort Claimant has proved by a

15   preponderance of the evidence that the Tort Claimant was Abused by a

16   Responsible Person, and does not find that there is clear, cogent and convincing

17   evidence that the applicable statute of limitations under Chapter 4.16 of the

18   Revised Code of Washington for such Matrix Tort Claim had run on or before

19   December 6, 2004. If a Matrix Tort Claim is allowed, the TCR shall determine the

20   amount of such Tort Claim by assigning such Tort Claim a value pursuant to the

21   Matrix Protocol. The TCR may consider the credibility of the Tort Claimant and the

22   facts alleged in support of the Tort Claim and, in the TCR’s sole discretion, reduce

23   or deny the Tort Claim.

24           11.6     Litigation Process.

25                    11.6.1     Distribution.

26
     DEBTOR’S SECOND AMENDED PLAN OF REORGANIZATION
     JOINTLY PROPOSED BY AOP, DEBTOR, FCR AND TCC -31
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 1                             11.6.1.1 Allowed Litigation Tort Claim. Each holder of an

 2   Allowed Litigation Tort Claim shall be paid in Cash by the Plan Trust such holder’s

 3   pro rata share of the Litigation Fund within 30 days after of the later of the date on

 4   which all Litigation Tort Claims have been Finally Determined, or the amount of the

 5   Litigation Tort Claims has been estimated by a Final Order of the TCR and the

 6   Litigation Fund has been funded.

 7                             11.6.1.2 Allowed Non-Releasing Litigation Tort Claim. Each

 8   holder of an Allowed Non-Releasing Litigation Tort Claim shall be paid in Cash by

 9   the Plan Trust such holder’s pro rata share of the Non-Releasing Litigation Fund

10   within 30 days after of the later of the date on which all Non-Releasing Litigation

11   Tort Claims have been Finally Determined, or the amount of the Non-Releasing

12   Litigation Tort Claims has been estimated by a Final Order of the TCR and the

13   Non-Releasing Litigation Fund has been funded.

14                    11.6.2     Allowance. Allowance of a Litigation Tort Claim or a

15   Non-Releasing Litigation Tort Claim shall be determined either by a trial of such

16   Tort Claim conducted by a court of competent jurisdiction (in the case of a Tort

17   Claimant who filed a complaint before the Petition Date, the court in which such

18   complaint is pending), or a settlement between the Tort Claimant and the Plan

19   Trustee. Any such Litigation Tort Claim or Non-Releasing Litigation Tort Claim is

20   subject to all defenses, including but not limited to the applicable statute of

21   limitations, available to Debtor. Nothing in this Plan shall affect any right the

22   holder of a Litigation Tort Claim to demand a jury trial under applicable law.

23           11.7     FC Process.

24                    11.7.1     FCR Tort Claim. The FCR Tort Claim shall be deemed

25   satisfied when the FC Fund is fully funded and the Future Claims Commitment

26   becomes effective.
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 1                    11.7.2     Allowance and Distribution of Future Tort Claims-Initial.

 2                             11.7.2.1 Distribution. Each holder of an Allowed Future Tort

 3   Claim which is filed on or before the 9th anniversary of the Effective Date (“Future

 4   Tort Claim-Initial”) shall be paid in full in Cash by the Plan Trust from the FC Fund

 5   and the proceeds of the Future Claims Commitment, which upon payment shall

 6   become part of the FC Fund, within 30 days after the latter of the date on which

 7   such Future Tort Claim-Initial is Finally Determined or the date on which the FC

 8   Fund is initially funded with the $1 million allocation provided for in Article 11.2.3

 9   and the Future Claims Commitment becomes effective.

10                             11.7.2.2 Allowance. The holder of a Future Tort Claim-Initial

11   may elect to proceed with allowance under the “FTC Compromise Process”

12   (defined below), the “FTC Matrix Process” (defined below) or the “FTC Litigation

13   Process” (defined below) by (i) filing with the TCR a Proof of Claim in the form to

14   be developed and furnished by the TCR which elects the FTC Compromise

15   Process or the FTC Matrix Process, or (ii) filing a complaint in the District Court

16   which elects the FTC Litigation Process. If the Proof of Claim does not elect

17   between the FTC Compromise Process and the FTC Matrix Process, the holder of

18   such Claim shall be deemed to have elected to proceed under the FTC Matrix

19   Process. Except as provided in Articles 11.7.2.2.2(b) and 11.7.2.2.3(b), any such

20   election shall be irrevocable. Each Proof of Claim or District Court complaint by a

21   holder of a Future Tort Claim-Initial must include a Release of Claims. A Future

22   Tort Claim which is filed after the 9th anniversary of the Effective Date shall be

23   allowed or disallowed and paid exclusively under Article 11.7.3. A Future Tort

24   Claim-Initial Allowed under this Article 11.7.2.2 is referred to as an “Allowed Future

25   Tort Claim-Initial.”

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 1                                   11.7.2.2.1 FTC Compromise Process. In the case

 2   of a holder of a Future Tort Claim-Initial who elects to proceed with allowance

 3   under the FTC Compromise Process, such Claim shall be allowed in the amount

 4   of $45,000 if the TCR determines that the holder of such Claim has proved by a

 5   preponderance of the evidence that the holder of such Claim was Abused as a

 6   minor by a Responsible Person, and that the applicable statute of limitations under

 7   Chapter 4.16 of the Revised Code of Washington had not begun to run on or

 8   before March 10, 2006. The TCR shall not consider any applicable statute of

 9   limitations which accrued after, or the passage of time after, March 10, 2006 in

10   making such determination. The TCR may consider the credibility of the Tort

11   Claimant and the facts alleged in support of the Tort Claim.

12                                   11.7.2.2.2 FTC Matrix Process.

13                                              (a)     Allowance. If a holder of a Future

14   Tort Claim-Initial elects to proceed with allowance under the Matrix Process, such

15   Claim shall be allowed (a) if the TCR determines that the holder of such Claim has

16   proved by a preponderance of the evidence (i) that such holder was Abused by a

17   Responsible Person, and (ii) that the applicable statute of limitations under

18   Chapter 4.16 of the Revised Code of Washington had not begun to run on or

19   before March 10, 2006; and (b) if the TCR does not find that there is clear, cogent

20   and convincing evidence that the applicable statute of limitations under Chapter

21   4.16 of the Revised Code of Washington had run (i) after March 10, 2006, and (ii)

22   before the date the Holder of such Claim filed a Proof of Claim. The TCR shall

23   determine the amount of such Claim by assigning such Claim a value pursuant to

24   the Matrix Protocol. The TCR may consider the credibility of the Tort Claimant and

25   the facts alleged in support of the Tort Claim and, in the TCR’s sole discretion,

26   reduce or deny the Tort Claim.
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 1                                              (b)     Amendment. At any time prior to

 2   final allowance or disallowance of a Future Tort Claim-Initial under the FTC Matrix

 3   Process, the holder of such Claim may amend his or her election or deemed

 4   election to instead elect treatment under the FTC Compromise Process by

 5   delivering a written notice of such election to the TCR. Any such amended

 6   election shall be irrevocable.

 7                                    11.7.2.2.3 FTC Litigation Process.

 8                                              (a)     Allowance. If a holder of a Future

 9   Tort Claim-Initial elects to proceed with allowance under the Litigation Process,

10   such Claim shall be determined either by a trial of such Claim conducted by the

11   District Court, or a settlement between the holder of such Claim and the Plan

12   Trustee. Such Future Tort Claim-Initial shall be disallowed unless the holder of

13   such Claim proves by a preponderance of the evidence that the applicable statute

14   of limitations under Chapter 4.16 of the Revised Code of Washington had not

15   begun to run on or before March 10, 2006. Such Claim also is subject to all

16   defenses, including but not limited to the applicable statute of limitations, available

17   to Debtor. Nothing in this Plan shall affect any right the holder of a Future Tort

18   Claim-Initial may have to a jury trial under applicable law.

19                                              (b)     Amendment. At any time prior to

20   the earliest of the date on which the Plan Trustee has filed a dispositive motion

21   with respect to, or trial has commenced on, a Future Tort Claim-Initial being

22   determined under the FTC Litigation Process, the holder of such Claim may

23   amend his or her election to instead elect treatment under the FTC Matrix Process

24   or the FTC Compromise Process by delivering a written notice of such election to

25   the TCR and the Plan Trustee. Any such amended election shall be irrevocable.

26   Any such amended election shall be deemed to be a consent to a reduction of the
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 1   amount of any distribution with respect to such holder’s Allowed Claim by the

 2   amount of all pre litigation and litigation Professional Fees and expenses, and all

 3   other Plan Trust Costs and Expenses attributable to such Claim which accrued

 4   through the date of such amended election.

 5                    11.7.3     Future Tort Claims-Extended filed after 9th Plan

 6   Anniversary.

 7                             11.7.3.1 Allowance. The holder of a Future Tort Claim which

 8   was filed after the 9th anniversary of the Effective Date and on or before the 23rd

 9   anniversary of the Effective Date (“Future Tort Claim-Extended”) shall have no

10   right to payment or any other right under the preceding provisions of this Plan.

11   The holder of a Future Tort Claim-Extended may proceed only by (i) filing with the

12   Reorganized Debtor a Proof of Claim in the form to be developed and furnished by

13   the Reorganized Debtor, or (ii) filing a complaint in the District Court. Each Proof

14   of Claim or District Court complaint by a holder of a Future Tort Claim-Extended

15   must include a Release of Claims. The Claim of a holder of a Future Tort

16   Claim-Extended shall be determined either by a trial of such Claim conducted by

17   the District Court, or a settlement between the holder of such Claim and the

18   Reorganized Debtor. Such Claim shall be disallowed unless the holder of such

19   Claim proves by a preponderance of the evidence that the applicable statute of

20   limitations under Chapter 4.16 of the Revised Code of Washington had not begun

21   to run on or before March 10, 2006. Such Claim also is subject to all defenses,

22   including but not limited to the applicable statute of limitations, available to Debtor.

23   Nothing in this Plan shall affect any right the holder of a Future Tort

24   Claim-Extended may have to a jury trial under applicable law.

25                             11.7.3.2 Payment. After the 9th Anniversary of the Effective

26   Date, the Reorganized Debtor will continue to insure for Tort Claims caused by
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 1   acts committed on or after February 1, 1989 with Catholic Mutual, its successor, or

 2   another insurer, under insurance policies equivalent to its current insurance

 3   policies with Catholic Mutual. Except as provided in Article 15.9.2, the holder of an

 4   Allowed Future Tort Claim-Extended shall be paid by the Reorganized Debtor

 5   solely from the proceeds of such insurance and the obligation of the Reorganized

 6   Debtor for Future Tort Claims-Extended shall be without recourse.

 7                    11.7.4   Future Tort Claims Filed after 23th Plan Anniversary Barred.

 8   All Future Tort Claims filed after the 23rd anniversary of the Effective Date shall

 9   have no right to payment or any other right under this Plan, and all such Claims

10   shall be discharged under Article 20.1 of the Plan.

11           11.8     Effect of disallowance. If a Tort Claim is Disallowed, the holder of

12   such Claim shall have no further rights against the Debtor, the Reorganized

13   Debtor, the Plan Trust or any Fund.

14           11.9     Succession to Debtor’s rights and duties. With the exception of the

15   duties set forth in Article 26, the Plan Trustee with respect to Litigation Tort

16   Claims, Non-Releasing Litigation Tort Claims and Future Tort Claims-Initial the

17   holders of which elect to proceed with allowance under the FTC Litigation Process,

18   the Reorganized Debtor with respect to Future Tort Claims-Extended, and the

19   TCR with respect to all other Tort Claims, shall succeed to all rights and duties of

20   Debtor with respect to such Tort Claims; and shall have complete control of the

21   conduct of all proceedings with respect to such Claims. The Plan Trustee shall

22   have complete control of settlements of Litigation Tort Claims, Non Releasing

23   Litigation Tort Claims and Future Tort Claims-Initial the holders of which elect to

24   proceed with allowance under the FTC Litigation Process. The Reorganized

25   Debtor shall have complete control of settlements of Future Tort Claims-Extended.

26   The TCR shall have no authority to settle other Tort Claims. No one except the
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 1   holder of the Tort Claim being determined and the TCR, the Plan Trustee or the

 2   Reorganized Debtor, as appropriate, (and their counsel) shall have standing to

 3   participate in such proceedings; provided that (a) any person may provide

 4   information about a Tort Claim and state a position with respect to a Tort Claim to

 5   the TCR, the Plan Trustee or the Reorganized Debtor, which information and

 6   statement of position shall be transmitted to the affected Tort Claimant, and (b) the

 7   TCR, the Plan Trustee or the Reorganized Debtor, in furtherance of the TCR’s, the

 8   Plan Trustee’s, or the Reorganized Debtor’s duties and obligations and with due

 9   regard to the legitimate interest of a Tort Claimant to have information about his or

10   her identity kept confidential, shall have the absolute right to provide any party in

11   interest with any and all information regarding a Tort Claim that is in the

12   possession, custody or control of the TCR, the Plan Trustee or the Reorganized

13   Debtor, including the Questionnaire and the information constituting Proof of

14   Abuse described below, subject to an agreement with the party in interest to keep

15   such information confidential. The TCR, the Plan Trustee or the Reorganized

16   Debtor, as appropriate, shall give the Claimant notice and an opportunity to object

17   before providing such information, and the decision of the TCR, the Plan Trustee

18   or the Reorganized Debtor, as appropriate, on such objection shall be final and not

19   subject to any appeal, review or protective order. Debtor, the Reorganized Debtor

20   and their counsel shall provide a copy of its complete file with respect to every Tort

21   Claim to the Plan Trustee (with respect to claims to be determined by the Plan

22   Trustee) and to the TCR (with respect to claims to be determined by the TCR),

23   and shall cooperate fully with the TCR and the Plan Trustee as requested by the

24   TCR or the Plan Trustee. The TCC, the TLC and the FCR and their counsel shall

25   cooperate fully with the TCR and the Plan Trustee as requested by the TCR or the

26   Plan Trustee. The expenses for attorneys’ fees and costs incurred by Debtor's,
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